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   IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

         MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA            )
                                    )
    v.                              )    CRIMINAL ACTION NO.
                                    )       2:94cr62-T
DONALD MINEFIELD                    )           (WO)

                                 ORDER

    Upon    consideration      of   defendant    Donald    Minefield’s

notice of appeal (Doc. No. 1840), and after an independent

and de novo review of the record, it is ORDERED that the

order of the United States Magistrate Judge at issue is

affirmed.

    DONE, this the 11th day of May, 2005.




                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
